Case 1:23-cv-03107-TWT Document 53-1 Filed 11/03/23 Page 1 of 16




           EXHIBIT A
      Case 1:23-cv-03107-TWT Document 53-1 Filed 11/03/23 Page 2 of 16




          IN THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

CAROLINE PATTON GRIFFIN,                 :
Individually and as Surviving Spouse     :
and Executor of the Estate of LEE        :
DIXON GRIFFIN, JR.,                      :
                                         :
      Plaintiff,                         : Civil Action File No.:
                                         :
v.                                       :       1:23-cv-03107-TWT
                                         :
TOYOTA MOTOR CORPORATION,                :
TOYOTA MOTOR NORTH                       :
AMERICA, INC.; TOYOTA MOTOR              :
SALES, U.S.A., INC.; TOYOTA              :
MOTOR ENGINEERING &                      :
MANUFACTURING NORTH                      :
AMERICA, INC.; TOYOTA MOTOR              :
MANUFACTURING, TEXAS, INC.;              :
and JIM ELLIS AUTOMOTIVE                 :
HOLDINGS, INC.,                          :
                                         :
      Defendants.                        :

                    STIPULATED PROTECTIVE ORDER

      WHEREAS, Plaintiff filed this action against the Toyota Defendants,

including but not limited to Toyota Motor Corporation (“TMC”), Toyota Motor

North America, Inc. (“TMNA”), Toyota Motor Sales, U.S.A. (“TMS”), Inc.,

Toyota Motor Engineering & Manufacturing North America, Inc. (“TEMA”), and

Toyota Motor Manufacturing, Texas, Inc. (“TMMTX”);

                                       -1-
       Case 1:23-cv-03107-TWT Document 53-1 Filed 11/03/23 Page 3 of 16




      WHEREAS, the documents identified as "Confidential" or "Subject to

Protective Order" are claimed by the Toyota Defendants to contain information

that includes proprietary interests, trade secrets, or confidential commercial

information, in addition to information that provides the Toyota Defendants a

competitive advantage that will be irretrievably lost if the information is disclosed

outside of this litigation; and

      WHEREAS, the Toyota Defendants desire to preserve the confidentiality of

such information and prevent the information from being acquired by their

competitors, or anyone outside of this litigation.

      IT IS HEREBY STIPULATED and requested that the Court enter the

following Stipulated Protective Order for the “Confidential” documents only.

      IT IS HEREBY ORDERED THAT:

      1.     The term “Confidential Information” as used in this Stipulated

Protective Order shall refer to those documents designated as “Confidential” or

“Subject to Protective Order” as described below, and to the substance of any

information obtained from such documents that are claimed by the Toyota

Defendants to contain proprietary interests, trade secrets, or confidential

commercial information, in addition to information that provides the Defendants a



                                         -2-
      Case 1:23-cv-03107-TWT Document 53-1 Filed 11/03/23 Page 4 of 16




competitive advantage that will be irretrievably lost if the information is acquired

by competitors of the Toyota Defendants.

      2.     “Confidential Information” has been designated by:

             (a)   Typing, stamping, or imprinting upon the document the

                   following words: “CONFIDENTIAL” or “SUBJECT TO

                   PROTECTIVE ORDER;” and

             (b)   Applying such in a manner so as not to obscure any information

                   contained therein.

      3.     All information and documents designated as “Confidential” shall be

accorded confidential status until such time as determined otherwise pursuant to

the following provisions of the Stipulated Protective Order.

      4.     Inadvertent or unintentional production of documents or information

containing "Confidential Information" that should have been designated

"Confidential" or "Produced Pursuant to Protective Order" shall not be deemed a

waiver in whole or in part of a party's claims of confidentiality and will continue to

be deemed "Confidential Information" upon notice to all parties receiving such

inadvertent or unintentional production.

      5.     Any notes, lists, memoranda, indices, compilations electronically

stored information, reports, records, and documents prepared or based on an
                                        -3-
       Case 1:23-cv-03107-TWT Document 53-1 Filed 11/03/23 Page 5 of 16




examination of “Confidential Information” and any summaries of “Confidential

Information,” which quote from, identify, or refer to the “Confidential

Information” with such specificity that the “Confidential Information” can be

identified, or by reasonable logical extension can be identified, shall be accorded

the same status of confidentiality as the underlying “Confidential Information”

from which they are made, and shall be subject to all of the terms of the Stipulated

Protective Order.

      6.     All “Confidential Information” shall be used only for this litigation,

shall not be used for any business, commercial, or competitive purposes, may be

disclosed only to the following individuals or entities, and shall not be revealed,

discussed, or disclosed in any manner or in any form, to any person, entity, or

judicial tribunal other than:

      (a)    The Court and Court personnel including court reporters retained by

             the parties;

      (b)    Counsel named as representing the parties;

      (c)    An employee of counsel named as representing the parties to whom it

             is necessary that the material be shown for purposes of litigation;

      (d)    Officers, directors, or employees of a party who have the need to

             know such information for purposes of this litigation;
                                        -4-
      Case 1:23-cv-03107-TWT Document 53-1 Filed 11/03/23 Page 6 of 16




      (e)    Experts or professional advisors and persons regularly employed in

             their offices retained by a party to assist in the prosecution or defense

             of this action, but only to the extent necessary for such person to

             perform their assigned tasks in connection with this action; and

      (f)    Attorneys representing parties, and the experts and consultants

             retained by them, in other cases against any of the Toyota Defendants

             involving claims of carbon monoxide poisoning resulting in injury or

             death allegedly resulting from the driver of a Toyota, Lexus, or Scion

             vehicle equipped with a Smart Key System allegedly leaving the

             vehicle with the engine running in an enclosed space attached to a

             residence.

      7.     “Confidential Information” shall not be shown or disclosed to persons

described in paragraphs 6(b), 6(c), 6(d), 6(e) and 6(f) until such persons shall be

shown this Stipulated Protective Order and signs and dates a written agreement to

be bound by the terms of this Stipulated Protective Order, which agreement shall

be identical to that set forth in Appendix “A” of this Stipulated Protective Order.

      8.     The original and copies of the signed Appendix “A” agreement(s)

referenced in Paragraph 7 above, shall be maintained in the possession, custody

and control of counsel for each party receiving “Confidential Information.” The
                                        -5-
      Case 1:23-cv-03107-TWT Document 53-1 Filed 11/03/23 Page 7 of 16




Toyota Defendants may seek a Court Order requiring disclosure of such signed

copies to them.

      9.     All persons who receive “Confidential Information” and/or material or

information accorded the status of confidentiality in this action shall maintain the

confidentiality of such material and information in accordance with the terms of

this Stipulated Protective Order.

      10.    Copies    of   discovery   responses    and    documents     containing

“Confidential Information” shall not be filed with the Court, except in accordance

with Paragraph 11.

      11.    In the event that any document, deposition testimony, deposition

exhibit, interrogatory, answer thereto, exhibit or attachment to an interrogatory or

answer, request for production, response thereto, exhibit to a request for production

or response, request for admission or response thereto, exhibit to a request for

admission or response, motion, memorandum, affidavit, brief, or any other

submission by any party is filed with the Court which includes, attaches,

incorporates, or quotes “Confidential Information,” such filings shall be submitted

in sealed envelopes and other appropriate containers endorsed to the effect that

they are subject to this Stipulated Protective Order by reason of containing



                                        -6-
      Case 1:23-cv-03107-TWT Document 53-1 Filed 11/03/23 Page 8 of 16




“Confidential Information” and shall be maintained under seal and not disclosed,

except to the Court, and except upon further Order of this Court.

      12.   To the extent that any “Confidential Information” is used in the taking

of depositions, such “Confidential Information” shall remain subject to the

provisions of this Stipulated Protective Order. At the time any “Confidential

Information” is used in any deposition, counsel for the parties must inform the

reporter of this Stipulated Protective Order. The reporter shall operate in a manner

consistent with this Stipulated Protective Order and shall separately label the

confidential portions of the deposition transcript, including documents and other

exhibits containing Confidential Information. The Confidential Information shall

be bound separately and counsel for the Defendant producing the

“Confidential Information” shall retain custody of that portion of the original

transcript containing Confidential Information and/or “Confidential”

documents. Those pages in any transcript referring to Confidential

Information shall include a stamp identifying all such pages as "Confidential”

and/or “Subject to Protective Order."

      13.   The Toyota Defendants may designate depositions or other testimony

concerning the documents and the information contained therein as “Confidential

Information” by:
                                        -7-
      Case 1:23-cv-03107-TWT Document 53-1 Filed 11/03/23 Page 9 of 16




      (a)    Stating orally on the record the day the testimony is given that the

             information is expected to be “Confidential;” or,

      (b)    Sending written notice designating those portions of the deposition or

             other testimony to be treated as "Confidential," within 30 days after

             receipt of the deposition transcript.

      The court reporter shall operate in a manner consistent with this Stipulated

Protective Order if he or she receives any confidential designations from the

Toyota Defendants as described in subparagraphs (a) or (b) above, and shall then

prepare an original transcript segregating the confidential portions of the

deposition, including documents and other exhibits containing "Confidential

Information." Counsel for the Toyota Defendant producing the “Confidential

Information” shall retain custody of that portion of the original transcript

containing Confidential Information.”

      14.    Any party may apply to the Court for the imposition of further

limitations upon the disclosure of specific information if such party deems further

limitations are required.    Any party may apply to the Court for relief from

limitations if such party deems such relief is required.

      15.    Nothing in this Stipulated Protective Order shall prevent any

disclosure if the party designating the information as “Confidential” consents to
                                         -8-
      Case 1:23-cv-03107-TWT Document 53-1 Filed 11/03/23 Page 10 of 16




such disclosure.

      16.    The execution of this Stipulated Protective Order shall not in any way

detract from the right of a party to object to the production of discovery materials

on grounds other than confidentiality.

      17.    Failure by a party to challenge the confidentiality of any document or

information at the time of receipt thereof shall not preclude a subsequent challenge

thereto. In the event a party to this litigation disagrees with the designation of any

information as “Confidential,” the parties shall attempt to dispose of such dispute

in good faith on an informal basis. If the disagreement cannot be resolved in this

fashion, the party contesting the confidentiality of the material may, by motion,

with the “Confidential Information” submitted under seal setting forth with

specificity the items challenged, seek an Order freeing the material in question

from the designation as “Confidential Information.”        The party asserting that

documents or other tangible litigation materials constitute “Confidential

Information” shall bear the burden of proof that the criteria of this Stipulated

Protective Order apply. Any information as to which such motion is made shall

remain “Confidential Information” under the provisions of this Stipulated

Protective Order until further Order of the Court.



                                         -9-
       Case 1:23-cv-03107-TWT Document 53-1 Filed 11/03/23 Page 11 of 16




       18.   Nothing contained in this Stipulated Protective Order shall prevent a

party to this action from using its own Confidential Information and material in

any way that it sees fit, or from revealing its own Confidential Information and

material to whomever it chooses, without prior consent of any person or of the

Court. In addition, the terms of this Stipulated Protective Order do not preclude the

Toyota Defendants from providing confidential and/or protected information and

documents to the National Highway Traffic Safety Administration (NHTSA),

either voluntarily or in connection with Toyota’s obligations under the National

Traffic and Motor Vehicle Safety Act of 1966 (Safety Act), 49 U.S.C. § 30101, et

seq.

       19.   After the conclusion of this litigation as to all parties, all “Confidential

Information,” all copies thereof, and all documents that contain or reflect

"Confidential Information," including, but not limited to any notes prepared by the

parties receiving the “Confidential Information,” counsel for such parties, or such

parties’ experts, shall be returned to counsel for the producing Defendants and all

electronic copies will be destroyed and deleted from any computers, hard drives,

servers, or cloud storage. The party given the “Confidential Information” will

certify in writing that there is compliance with this paragraph. All “Confidential

Information” shall remain subject to the terms of this Stipulated Protective Order,
                                         -10-
      Case 1:23-cv-03107-TWT Document 53-1 Filed 11/03/23 Page 12 of 16




and the parties consent to the continuation of jurisdiction and venue of this Court

to resolve any disputes arising from the treatment or disposition of “Confidential

Information” after conclusion of this litigation.

      20.    This Stipulated Protective Order shall not be abrogated, modified,

amended, or enlarged except by agreement of the parties or by noticed motion,

with notice given to each of the parties.

      21.    Nothing contained herein shall restrict the presentation of any

evidence, including “Confidential Information,” to a jury or the Court during a trial

or other hearing of this action. However, such presentation shall not constitute a

waiver of any restrictions provided for in this Stipulated Protective Order and the

parties agree to take reasonable steps to maintain the confidentiality of any

“confidential information” at any hearing or upon trial of this matter in such a

manner and until such time as the Court may direct, and/or as the parties may

otherwise agree. Before any such presentation of “Confidential Information,” the

Toyota Defendants shall be provided with appropriate notice so that the Toyota

Defendants may have the opportunity to lodge appropriate objections or seek the

Court’s direction to prevent disclosure of the “Confidential Information.”




                                        -11-
 Case 1:23-cv-03107-TWT Document 53-1 Filed 11/03/23 Page 13 of 16




Respectfully submitted this ____ day of August, 2023.

                                        WATSON SPENCE LLP

                                        /s/ Philip A. Henderson
                                        Michael R. Boorman
                                        Georgia Bar No.: 067798
                                        Philip A. Henderson
                                        Georgia Bar No.: 604769
                                        999 Peachtree Street NE
                                        Suite 1130
                                        Atlanta, GA 30309
                                        Telephone: 229-436-1545
                                        mboorman@watsonspence.com
                                        phenderson@watsonspence.com
                                        Attorneys for the Toyota Defendants


                                        BUTLER PRATHER LLP

                                        __________________________
                                        JAMES E. BUTLER, JR.
                                        Georgia Bar No. 099625
                                        jim@butlerprather.com
                                        RAMSEY B. PRATHER
                                        Georgia Bar. No. 658395
                                        ramsey@butlerprather.com
                                        DANIEL E. PHILYAW
                                        Georgia Bar No. 877765
                                        dan@butlerprather.com
                                        SARAH R. DALEY
                                        Georgia Bar No. 644153
                                        sdaley@butlerprather.com
                                        P.O. Box 2766
                                        Columbus, GA 31902
                                 -12-
      Case 1:23-cv-03107-TWT Document 53-1 Filed 11/03/23 Page 14 of 16




                                              Phone: 706-322-1990
                                              Fax: 706-323-2962
                                              Attorneys for Plaintiff




      The Court, after reading the Stipulated Protective Order submitted by the
parties, hereby approves of and enters this Stipulated Protective Order.

SO ORDERED this the _______ day of ____________________, 2023.



                                       ______________________________
                                       Hon. Thomas W. Thrash, Jr.
                                       U.S. District Court, Northern District of GA




                                       -13-
      Case 1:23-cv-03107-TWT Document 53-1 Filed 11/03/23 Page 15 of 16




          IN THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

CAROLINE PATTON GRIFFIN,                  :
Individually and as Surviving Spouse      :
and Executor of the Estate of LEE         :
DIXON GRIFFIN, JR.,                       :
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      Plaintiff,                          : Civil Action File No.:
                                          :
v.                                        :       1:23-cv-03107-TWT
                                          :
TOYOTA MOTOR CORPORATION,                 :
TOYOTA MOTOR NORTH                        :
AMERICA, INC.; TOYOTA MOTOR               :
SALES, U.S.A., INC.; TOYOTA               :
MOTOR ENGINEERING &                       :
MANUFACTURING NORTH                       :
AMERICA, INC.; TOYOTA MOTOR               :
MANUFACTURING, TEXAS, INC.;               :
and JIM ELLIS AUTOMOTIVE                  :
HOLDINGS, INC.,                           :
                                          :
      Defendants.                         :

          APPENDIX A TO STIPULATED PROTECTIVE ORDER

             I,     ___________________________________________________,
certify that I have read the Stipulated Protective Order dated _________________,
entered in the above-captioned action and further certify that I fully understand the
procedural and substantive requirements of that Stipulated Protective Order, a copy
of which is attached hereto.      Before reviewing or receiving access to any
document, material, information and/or discovery subject to the protection of that
                                       -14-
     Case 1:23-cv-03107-TWT Document 53-1 Filed 11/03/23 Page 16 of 16




Stipulated Protective Order and as a condition for such review and/or access, I
understand and agree that I am personally bound by and subject to all of the terms
and provisions of the Stipulated Protective Order.      I subject myself to the
jurisdiction and venue of said Court for purposes of enforcement of the Stipulated
Protective Order.

                                     ___________________________________
                                     (signature)

                                     ___________________________________
                                     (print name)



Sworn to and subscribed before me
this ____ day of _________________, 202__.

_______________________________
Notary Public
My Commission Expires:

______________________




                                      -15-
